            Case 17-69050-lrc           Doc 12       Filed 11/07/17 Entered 11/07/17 06:55:40                      Desc Main
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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE NORTHERN DISTRICT OF GEORGIA

In RE:             CHESTER PAUL RAMAGOS                                §          Case Number:         17-69050-LRC-13
                   DANA LATRICE RAMAGOS                                §
                   Debtor(s)                                           §          Chapter:        13

                                        REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT NCEP, LLC hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LP hereby requests that:
                (i)          all notices given or required to be given in the case; and
                (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding NCEP, LLC should be directed to AIS Portfolio Services, LP at the following mailing address effective
         immediately:

                Attn: NCEP, LLC Department
                AIS Portfolio Services, LP
                Account: XXXX0046
                P.O. Box 165028
                Irving, TX 75016

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                       Respectfully submitted,

                                                                       /s/ Bhagwati Barot
                                                                       Bhagwati Barot
                                                                       Claims Processor
                                                                       Bankruptcy Servicer for NCEP, LLC
                                                                       AIS Portfolio Services, LP
                                                                       P.O. Box 165028
                                                                       Irving, TX 75016
                                                                       (817)277-2011, Fax (817) 461-8070
                                                                       ecfnotices@ascensioncapitalgroup.com
                                                                       File # 1037733
